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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

Charlotte Loquasto, et al.                            §
                                                      §
                        Plaintiffs,                   §       Civil Action No. 3:19-CV-01455-B
                                                      §
vs.                                                   §               (Consolidated with
                                                      §       Civil Action No. 3:19-CV-01624-B)
Fluor Corporation, Inc., et al.                       §
                                                      §
                        Defendants.                   §


                    ALLIANCE PROJECT SERVICES, INC.’S
                    OPPOSITION TO PLAINTIFFS’ MOTION
           FOR NEW TRIAL, TO ALTER, AMEND OR VACATE ORDER,
                          AND TO TRANSFER VENUE
__________________________________________________________________________

         Alliance Project Services, Inc. (“APS”) submits this memorandum in opposition to

Plaintiffs’ Motion For New Trial, To Alter, Amend Or Vacate Order, And To Transfer Venue.

                        INTRODUCTION AND SUMMARY POSITION

         Plaintiffs’ two-fold motion is an ill-fated attempt to circumvent this Court’s dispositive

Order and Judgment and transplant their litigated Texas action to South Carolina in hopes for a

different result. The motion is properly denied for four principal reasons.

         First, Plaintiffs do not mention—let alone meet their burden of demonstrating—the

necessary circumstances to justify the extraordinary remedies they seek under Rule 59 of the

Federal Rules of Civil Procedure. With only a passing reference to Rule 59, Plaintiffs seek the

extraordinary remedies of i) vacating the Court’s Memorandum Opinion And Order, and ii)

reviving their dismissed actions from the Final Judgment entered by the Court.1 However, their


1
    See proposed order filed in conjunction with Plaintiffs’ motion. (Dkt. 86-1.)
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Motion is devoid of any justification for the requested relief.

        Second, Plaintiffs’ motion to transfer the action to South Carolina pursuant to 28 U.S.C. §

1631 fails as a matter of law because the proposed transferee court (South Carolina2) does not

have personal jurisdiction over APS. As a fundamental prerequisite for transferring a case, this

Court must first determine that South Carolina has personal jurisdiction over each and all

Defendants for the claims asserted in the Complaints at issue. 3 However, Plaintiffs did not—and

cannot—make this required showing; South Carolina lacks personal jurisdiction over APS for

the claims asserted in the Complaints. Because this prerequisite is lacking, the transfer cannot be

made as a matter of law, and the motion must be denied.

        Third, Plaintiffs’ motion to transfer the action fails as a matter of law because subject

matter jurisdiction is lacking over Plaintiffs’ claims, which were brought under Texas law. 4 As

this Court has ruled, Plaintiffs’ claims are barred under the political question doctrine. Plaintiffs

make no showing that faced with the same claims under Texas law, a South Carolina court

would find subject matter jurisdiction.

        Fourth, the interests of justice are not served by transferring this action to South Carolina.




2
  APS is not a party to the Hencely v. Fluor Corp.., Inc. case venued in South Carolina. (See
Memorandum Opinion And Order, p. 18 (Dkt. 84).) (See Plaintiffs’ Supplement To Their
Response To Defendants’ Rule 12(b)(1) Motion to Dismiss at p. 2 n.3) (Dkt. 60-1).) (See also
Dkt. 60-2.)
3
  The relevant Complaints are the Loquasto Complaint originally filed in the 14th District Court,
Dallas County, Texas (“Loquasto Complaint”) and removed to this Court, (see Dkt. 1-3, at pp. 2–
44), and the Branch Complaint originally filed in 14th District Court, Dallas County, Texas
(“Branch Complaint”) and removed to this Court, (see Branch v. Fluor, et al., 3:19-cv-01624-B,
Dkt. 1-3, at pp. 5–16.) The Court consolidated the Loquasto and Branch actions. (See Order
dated July 15, 2019) (Dkt. 10.)
4
  “Plaintiffs here brought their negligence claims in Texas under Texas law.” (See
Memorandum Opinion And Order, p. 19 (citing, generally, Plaintiffs’ Complaints (Dkt. 84).)

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          Accordingly, APS respectfully submits that Plaintiffs’ motion, in its entirety, should be

denied.

                                      LEGAL ARGUMENT

I.        PLAINTIFFS’ CURSORY MOTION IS LEGALLY DEFICIENT TO SUPPORT
          THE “EXTRAORDINARY” REMEDIES THEY SEEK UNDER RULE 59.

          Plaintiffs’ Motion mentions Rule 59 once and only generally. (Pls’ Motion at p. 1) (Dkt.

86) (“Pursuant to Federal Rule of Civil Procedure 59, the Plaintiffs file this Motion for New

Trial, to Alter, Amend or Vacate Order . . . with respect to this Court’s January 8, 2021 Order

granting Defendants’ Rule 12(b)(1) motion to dismiss for lack of subject-matter jurisdiction

under the political-question doctrine.”) Yet, Rule 59 of the Federal Rules of Civil Procedure has

five subparts. See Fed. R. Civ. P. 59 (a)–(e). The only arguably applicable subdivision to

Plaintiffs’ motion is Rule 59(e).5

          “To prevail on a Rule 59(e) motion to alter or amend a judgment, the moving party must

show (1) an intervening change in controlling law; (2) the availability of new evidence not

previously available; or (3) a manifest error of law or fact.” Romanowski v. Wells Fargo Bank,

N.A., No., 3:18-CV-1567-D, 2019 WL 3429064, at *1 (N.D. Tex. July 30, 2019) (citing Schiller

v. Physicians Res. Grp., Inc., 342 F.3d 563, 567 (5th Cir. 2003)); see Demahy v. Schwarz

Pharma, Inc., 702 F. 3d 177, 182 (5th Cir. 2012) (citation omitted) (same). Rule 59(e) motions

“have a narrow purpose and are only appropriate to allow a party to correct manifest errors of

law or fact or to present newly discovered evidence.” Arrieta v. Yellow Transp., Inc., No. 3:05-

CV-2271-D, 2009 WL 129731, at *1 (N.D. Tex. Jan. 20, 2009) (quoting AMS Staff Leasing, NA

v. Associated Contract Truckmen, Inc., No. 3:04-CV-1344-D, 2005 WL 3148284, at *3 (N.D.


5
  “A motion to alter or amend a judgment must be filed no later than 28 days after the entry of
the judgment.” Fed. R. Civ. P. 59(e).

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Tex. Nov. 21, 2005)). Rule 59(e) motions “cannot be used to raise arguments which could, and

should, have been made before the judgment issued.” Simon v. United States, 891 F.2d 1154,

1159 (5th Cir. 1990) (quoting Fed. Deposit Ins. Corp. v. Meyer, 781 F.2d 1260, 1268 (7th Cir.

1986)); see Advocare Int'l LP v. Horizon Labs, Inc., 524 F.3d 679, 691 (5th Cir. 2008) (same).

While a court has discretion to grant relief under Rule 59(e), courts have repeatedly cautioned

that “[r]econsideration of a judgment after its entry is an extraordinary remedy that should be

used sparingly.” Templet v. HydroChem Inc., 367 F. 3d 473, 479 (5th Cir. 2004) (citations

omitted); see Sterling v. United States of Am., No. 3:18-CV-0526-D, 2020 WL 2425648, at *2

(N.D. Tex. May 12, 2020) (same and citing cases), aff'd, 834 F. App'x 83 (5th Cir. 2020);

Romanowski, 2019 WL 3429064, at *1 (same).

       Plaintiffs do not mention—let alone meet their burden of demonstrating—the existence

of any of the three circumstances that must exist to warrant the extraordinary relief justifying the

grant of Plaintiffs’ motion to amend or vacate the Court’s Memorandum Opinion And Order and

reopen the Final Judgment entered by the Court. One, Plaintiffs do not posit any new controlling

law. Two, Plaintiffs do not present any fact or information that was not already before the Court

when the Court issued the Order and Judgment. Rather, Plaintiffs’ brief sets forth what Plaintiffs

characterize as the “procedural background” of the case. (See Pls’ Br. at pp.1–2.) (Dkt. 86.)

       Three, Plaintiffs have neither identified nor demonstrated that this Court made a

“manifest error in law” in granting Defendants’ motion to dismiss for lack of jurisdiction as set

forth in the Court’s Memorandum Opinion And Order, (Dkt. 84), or in entering Final Judgment,

(Dkt. 85). Plaintiffs do not advocate any rationale for altering or vacating the Memorandum

Opinion and Order or Judgment. Impliedly, Plaintiffs’ seek vacation of the Court’s Order and

resulting Judgment because they disagree with the result. However, a Rule 59(e) motion is not a


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proper vehicle to reopen a matter that was resolved to the movant’s dissatisfaction. See Templet,

367 F.3d at 479; Sterling, 2020 WL 2425648, at *1 (Rule 59(e) motions “are not the proper

vehicle for rehashing old arguments or advancing theories of the case that could have been

represented earlier”) (quoting Arrieta, 2009 WL 129731, at *1 (further citations omitted)).

         Plaintiffs do not mention the high standard for altering or vacating an order or judgment

pursuant to Rule 59 nor advocate that such rare situation exists here. Indeed, the high standard is

not satisfied. Simply put, Plaintiffs’ 4-page6 brief is devoid of any facts, law, or analysis that is

required to support relief under Rule 59(e). See Sterling, 2020 WL 2425648, at *1 (“The movant

must demonstrate valid reasons to justify the court's reconsideration of a prior ruling.”) (citation

omitted). As the moving party, Plaintiffs have not met their burden, and their motion is legally

deficient.

         Because Plaintiffs do not satisfy the threshold issue of vacating the Order and Judgment,

Plaintiffs’ Motion seeking transfer of the action cannot be granted. No further inquiry on the

transfer motion is needed. Yet, other considerations also support denial of the transfer Motion.

II.      PLAINTIFFS’ MOTION TO TRANSFER THIS ACTION TO SOUTH
         CAROLINA PURSUANT TO 28 U.S.C. § 1631 FAILS AS A MATTER OF LAW.

         Plaintiffs request this Court transfer this litigated Texas action to South Carolina pursuant

to 28 U.S.C. § 1631, which provides:

         Whenever a civil action is filed in a court […] and that court finds that there is a
         want of jurisdiction, the court shall, if it is in the interest of justice, transfer such
         action or appeal to any other such court […] in which the action or appeal could
         have been brought at the time it was filed or noticed ….

28 U.S.C. § 1631.



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    One of the pages is the signature block.

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       The threshold question on a motion to transfer is whether the action as pleaded in the

complaint at issue could have been brought in the proposed transferee district. See TransFirst

Grp., Inc. v. Magliarditi, 237 F. Supp. 3d 444, 456 (N.D. Tex. 2017). On this issue, transfer

requests pursuant to 28 U.S.C. §§1404(a) and 1406(a) are analogous. See Finch v. Davidson

Cty. Sheriffs Dep't, No. 3:20-CV-91-B-BN, 2020 WL 690658, at *2 (N.D. Tex. Jan. 21, 2020),

report and recommendation adopted, No. 3:20-CV-91-B, 2020 WL 636915 (N.D. Tex. Feb. 11,

2020) (citing Middlebrooks v. Smith, 735 F.2d 431, 432 (11th Cir. 1984) (“Section 1631 is

analogous in operation to 28 U.S.C. §§ 1404(a) and 1406(a).”)).

       A.      Because South Carolina Does Not Have Personal Jurisdiction Over APS, The
               Motion To Transfer Must Be Denied.

       A transfer may not be granted where the transferor court (here, this Court) does not first

satisfy itself that the proposed transferee court (here, South Carolina) has personal jurisdiction

over each defendant for the claims asserted in the complaint at issue. See TransFirst Grp., Inc.,

237 F. Supp. 3d at 456; see also Viernow v. Euripides Dev. Corp., 157 F.3d 785, 794 n.16 (10th

Cir. 1998) (“When transferring under § 1631 for lack of personal jurisdiction, the district court

seeking to effect the transfer is therefore required to first satisfy itself that the proposed

transferee court has personal jurisdiction over the parties.”); Grynberg v. Ivanhoe Energy, Inc.,

490 F. App'x 86, 105 (10th Cir. 2012) (same) (citations omitted); see generally Pugh v. Arrow

Elecs., Inc., 304 F. Supp. 2d 890, 896 (N.D. Tex. 2003) (a transfer pursuant to 28 U.S.C. §

1406(a) requires, inter alia, that the defendant be subject to personal jurisdiction and service” in

the transferee court); Allcapcorp Co. v. CHC Consulting, No. 3:17-CV-0757-S-BH, 2019 WL

417995, at *4 (N.D. Tex. Jan. 10, 2019), report and recommendation adopted, No. 3:17-CV-

0757-S-BH, 2019 WL 415819 (N.D. Tex. Feb. 1, 2019) (analyzing transfer under 28 U.S.C. §

1404 and noting that “[i]t is well-determined that a transferee court must have jurisdiction over

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each defendant in the transferred complaint”); Heritage Life Ins. Co. v. Walker, No. CIV.A.

3:04CV1732-L, 2005 WL 598248, at *1 (N.D. Tex. Mar. 11, 2005) (“The transferee forum must

be one in which venue and personal jurisdiction would have been satisfied as to all defendants at

the time the action was filed in the transferor court”); Cont'l Airlines, Inc. v. Am. Airlines, Inc.,

805 F. Supp. 1392, 1394 (S.D. Tex. 1992) (transfer under 28 U.S.C. § 1404(a) cannot be granted

“unless, at the time suit was filed, venue could have been properly laid in the proposed transferee

court and that court could have exercised subject matter jurisdiction over the action and personal

jurisdiction over all the defendants”) (citation omitted); Hurt v. Mississippi John Hurt Found.,

No. 3:19-CV-1722-K-BN, 2019 WL 3948342, at *1 (N.D. Tex. July 25, 2019), report and

recommendation adopted, No. 3:19-CV-1722-K, 2019 WL 3947487 (N.D. Tex. Aug. 21, 2019)

(analyzing transfer under 28 U.S.C. § 1406(a) and personal jurisdiction of transferee court).

         As the party seeking the transfer, Plaintiffs have the burden to establish that the claims as

pleaded in the Complaints could have been brought in South Carolina. As a matter of law,

Plaintiffs cannot do so. The Complaints are devoid of any allegation connecting APS to South

Carolina. Nothing in the Complaints suggest—much less demonstrate—that APS is subject to

personal jurisdiction of a court located in South Carolina. 7 Indeed, as set forth below, it does

not.

         South Carolina does not have general personal jurisdiction over APS. APS is not “at

home” in South Carolina. See Fidrych v. Marriott Int’l, Inc., 952 F.3d 124, 132–34 (4th Cir.

2020) (analyzing South Carolina’s exercise of general jurisdiction over a corporation) (citing

Daimler AG v. Bauman, 571 U.S. 117 (2014); Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915 (2011).) APS is a corporation organized under the laws of Delaware, and


7
    As noted above, APS is not a party to the Hencely action.

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its principal place of business is located in Leesburg, Virginia. (See Declaration of Tod Nickles,

as the President and Chief Executive Officer of APS, in Support of Alliance Project Services,

Inc.’s Opposition To Plaintiffs’ Motion For New Trial, To Alter, Amend Or Vacate Order, And

To Transfer Venue (“Nickles Decl.”) ¶ 3, Ex. 1 to the Appendix (“App.”); see also Loquasto

Compl. at p. 21; Branch Compl. at pp. 5–6.) Stated conversely, APS is not incorporated in South

Carolina nor is its principal place of business located in South Carolina. (See Nickles Decl. ¶ 3

(App. 2.) APS has no office located in South Carolina nor has any employees located in South

Carolina. (Id. ¶¶ 4–5 (App. 2.) As such, South Carolina cannot exercise general personal

jurisdiction over APS.

       South Carolina does not have specific personal jurisdiction over APS. South Carolina

courts can exercise jurisdiction over APS if APS “has purposefully directed [its] activities at

residents of the forum, and the litigation results from alleged injuries that arise out of or relate to

those activities.” Fidrych, 952 F.3d at 138 (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

462, 472 (1985) (citation and internal quotation omitted).) For such analysis, South Carolina

courts “consider (1) the extent to which the defendant purposefully availed itself of the privilege

of conducting activities in the State; (2) whether the plaintiffs’ claims arise out of those activities

directed at the State; and (3) whether the exercise of personal jurisdiction would be

constitutionally reasonable.” Id. (quoting Perdue Foods, LLC v. BRF S.A., 814 F.3d 185, 189

(4th Cir. 2016) (internal quotation marks omitted).) Measured against these three considerations,

South Carolina cannot exercise specific personal jurisdiction over APS.

       First, APS does not purposefully avail itself in conducting activities in South Carolina. In

addition to the absence of a connection with South Carolina noted above, APS does not have an

account at a bank located in South Carolina. (Nickles Decl. ¶ 6 (App. 2).) APS is not registered


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to do business in South Carolina and does not have an appointed agent for service of process in

South Carolina. (Id. ¶ 7 (App. 2.)) APS does not direct advertising to the State of South

Carolina. (Id. ¶ 8 (App. 2.)) APS operates a website used only for providing information,

advertising, and allowing a potential customer to contact APS and does not allow a user to

consummate a transaction with APS for its products or services. (Id. ¶ 9 (App. 2).) APS does

not engage in activities directed at South Carolina to justify courts in the state exercising

personal jurisdiction over it. (See id. ¶¶ 3–14 (App. 2-3).)

       Second, and fatal to Plaintiffs’ transfer motion, there are no allegations in the Loquasto

Complaint and the Branch Complaint demonstrating that Plaintiffs’ claims arise out of APS’s

activities directed at South Carolina. The allegations in the Complaints are based only on alleged

“negligence/gross negligence,” (Branch Compl. at p. 10; Loquasto Compl. at p. 30), that

allegedly occurred “at the Bagram Air Base in Afghanistan.” (Branch Compl. at p. 1; Loquasto

Compl. at p. 2). Indeed, the claims in the Complaints address APS’s alleged actions and in-

actions that occurred in Bagram, Afghanistan. (See Loquasto Compl.; Branch Compl.) In

describing the claims to this Court, Plaintiffs characterized their “lawsuit [as being] about the

Defendants’ failure to properly supervising Ahmad Nayeb at the time of the explosion,”

(Plaintiffs’ Response to Defs.’ Rule 12(b)(1) Motion to Dismiss and Summary-Judgment Motion

at p. 1) (Dkt. 57), that occurred “at the Bagram Air Base in Afghanistan,” (Branch Compl. at p.

1; Loquasto Compl. at p. 2). There is absolutely no act alleged in the Complaints that arise out

of any APS activity in South Carolina.

       Third, for the above reasons, South Carolina could not exercise personal jurisdiction over

APS for the claims asserted in the Complaints without violating constitutional protections.




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        Because Plaintiffs did not satisfy the threshold issue of demonstrating that the claims

alleged in the Complaints could have been brought in South Carolina—notably against APS—

the requested transfer must be denied. No further inquiry on the transfer motion is needed. Yet,

other considerations also support denial of the request.

        B.     Plaintiffs’ Claims Under Texas Law, As Pleaded In The Complaints, Are
               Barred By The Political Question Doctrine, Resulting In Courts Not Having
               Subject Matter Jurisdiction Over The Action.

        As a condition of transfer, this Court must determine that the transferor court has subject

matter jurisdiction over Plaintiffs’ claims as pleaded in the Complaints. Based on Supreme

Court decisions and as interpreted by other courts, this Court found that Plaintiffs’ claims, which

were brought under Texas law, 8 are barred from adjudication under the political question

doctrine.9 (See Memorandum Opinion And Order) (Dkt. 84.) For the same reasons that this

Court determined that it lacked subject matter jurisdiction over Plaintiffs’ claims as pleaded in

the Complaints, other courts likewise lack subject matter jurisdiction over such same claims as

pleaded in the Complaints. Plaintiffs have not suggested that a South Carolina court would make

a different ruling on the question of subject matter jurisdiction under the political question




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    Plaintiffs intentionally chose to commence their action in Texas state court specifically
invoking and committing to Texas state law as applicable to their claims. (See Loquasto Compl.
at pp. 5, 21, 37; Branch Compl. at pp. 4, 6, 11.) Following the removal to this Federal Court,
Plaintiffs represented to the Court: “Plaintiffs do not challenge jurisdiction or venue, and do not
contend that there are any procedural defects in the removal.” (Parties’ Joint Status Report, at p.
3, ¶2) (emphasis added) (Dkt. 24.) (See also Plaintiffs’ Response to Defendants’ Rule 12(b)(1)
Motion to Dismiss and Summary-Judgment Motion, at pp. 1, 13) (Dkt. 57) (describing Plaintiffs’
claims under Texas law.)
9
  (See Memorandum Opinion and Order dated January 8, 2021 (Dkt. 84).) This Court ruled that
“this case presents a political question under the second Baker factor,” referencing the United
States Supreme Court case Baker v. Carr, 369 U.S. 186 (1962). (Dkt. 84 at p. 17.) As with this
Court, Baker is binding precedent on a court located in South Carolina.

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doctrine when presented with claims as pleaded under Texas law.            Because subject matter

jurisdiction is lacking, a transfer would be impermissible.10

       Thus, it is unnecessary to evaluate the additional considerations for assessing the

requested transfer. Yet, those considerations also require denial of the transfer.

III.   PLAINTIFFS’ MOTION TO TRANSFER THE ACTIONS TO SOUTH
       CAROLINA IS NOT SUPPORTED BY THE INTERESTS OF JUSTICE.

       If the transferor court has determined that the transferee court has both subject matter

jurisdiction over the claims and the transferee court has personal jurisdiction over all of the

defendants in regard to the pleaded claims, then—and only then—the transferor court must

determine whether transferring the action “would be in the interest of justice.” See TransFirst

Group, Inc., 237 F.Supp.3d at 456. Here, justice is not served by transferring these actions to

South Carolina; it would be unjust.

       Plaintiffs intentionally chose to file their claims in Texas and under Texas law. With

knowledge of the Hencely lawsuit having been commenced in the South Carolina District Court

in February 2019, and knowing that Plaintiffs would immediately face a motion to dismiss based

on the political question doctrine, Plaintiffs nevertheless intentionally chose to commence their

action in Texas state court in June 2019, specifically invoking and committing to Texas state law

as applicable to their claims. (See Loquasto Compl. at p. 5; p. 21 (“Venue is proper in Dallas

County, Texas”); at p. 37 citing Texas procedure); See Branch Compl. pp. 3, 4, 6, 11 (same).)

Additionally, following the removal to this Court and knowing that Defendants were seeking to

dismiss the actions based on lack of subject matter jurisdiction under the political question

doctrine, Plaintiffs represented to the Court: “Plaintiffs do not challenge jurisdiction or venue,

10
    There are additional reasons to deny the Motion to transfer, including that the claims are
barred under combatant activities preemption as addressed in other briefing that has been
submitted to the Court. (See Dkts. 45, 67, 81, 87.)

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and do not contend that there are any procedural defects in the removal.” (Parties’ Joint Status

Report, at p. 3, ¶2) (emphasis added) (Dkt. 24.)

       Plaintiffs also embraced Texas comparative fault and agreed to the Military being

designated a responsible third party under Texas law. Faced with the Motion under Texas law

To Designate The United States Military, Ahmed Nayeb, and Unknown Criminal Actors as

Responsible Third Parties, (Dkt. 20), Plaintiffs advised the Court “that [Plaintiffs] do not oppose

the relief sought in the Fluor Defendants’ Motion for Leave to Designate Responsible Third

Parties, filed on August 19, 2019 (Dkt. 20),” (Dkt. 30.) Noting no opposition to the request, the

Court granted “Defendants LEAVE to designate the United States Military [and others] as

responsible third parties under [Texas Civil Practice and Remedies Code] § 33.004.” (Order

dated Sept. 27, 2019 (Dkt. 31).) This Order remains part of this action, and Plaintiffs have not

sought to vacate it.

       The parties have litigated these actions for 18 months before this Court under Texas law.

At no time before Judgment was entered did Plaintiffs suggest a transfer was appropriate. The

interests of justice do not justify an attempt to litigate the same claims as pleaded in the

Complaint under Texas law in another forum, particularly in a jurisdiction that does not have

personal jurisdiction over APS.




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        THEREFORE, APS respectfully requests that the Court deny Plaintiffs’ Motion.


File Date: February 18, 2021                    Respectfully submitted,

                                                FOX ROTHSCHILD LLP

                                                By: /s/ C. Dunham Biles
                                                C. Dunham Biles
                                                State Bar No. 24042407
                                                David Grant Crooks
                                                State Bar No. 24028168
                                                Saint Ann Court
                                                2501 N. Harwood Street
                                                Suite 1800
                                                Dallas, Texas 75201
                                                972-991-0889 – Phone
                                                972-404-0516 – Fax
                                                cbiles@foxrothschild.com
                                                dcrooks@foxrothschild.com

                                                -AND-

                                                Kathy S. Kimmel, (Admitted Pro Hac Vice)
                                                Fox Rothschild, LLP
                                                222 South Ninth Street, Suite 2000
                                                Minneapolis, Minnesota 55402
                                                612-607-7306 – Phone
                                                612-607-7100 – Fax
                                                kkimmel@foxrothschild.com

                                                Attorneys for Alliance Project Services, Inc.


                                CERTIFICATE OF SERVICE

       I certify that on this 18th day of February 2021, a true and correct copy of the foregoing
document was served on counsel of record for the parties through the CM/ECF system in
accordance with the Federal Rules of Civil Procedure.


                                                      /s/ C. Dunham Biles




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